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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Antionette Woodward
                              Plaintiff,
v.                                              Case No.: 1:23−cv−00979
                                                Honorable Sharon Johnson Coleman
Humana, Inc., et al.
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 23, 2023:


       MINUTE entry before the Honorable Sharon Johnson Coleman: Status hearing
held on 5/23/2023. Defendant Healthhub, LLC did not appear nor contact the Court.
Counsel for plaintiff stated on the record that defendant was served on 3/15/2023 with no
response from them. Counsel intends to file a motion for default. An in−person status
hearing is set for 8/25/2023 at 9:00 AM. Mailed notice. (ym, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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